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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

   CYTIVA SWEDEN AB, and                      )
   GLOBAL LIFE SCIENCES                       )
   SOLUTIONS USA, LLC,                        )
                                              )
                 Plaintiffs,                  )
                                              )
     v.                                       ) C.A. No. 18-1899-CFC-SRF
                                              )
   BIO-RAD LABORATORIES, INC.,                ) CONSOLIDATED
                                              )
                 Defendant.                   )


           PLAINTIFFS’ MOTION TO EXCLUDE EXPERT OPINIONS
                         OF DR. BRUCE GALE

          Pursuant to Federal Rule of Evidence 702 and Federal Rule of Evidence 703,

  Plaintiffs Cytiva Sweden AB and Global Life Sciences Solutions USA LLC

  (collectively, “Plaintiffs”) file this motion to exclude the expert opinions of Dr.

  Bruce Gale regarding (i) non-infringement based on the terms “fluidics section,”

  “non-fluidics section,” “and “panel member,” incorporated in paragraphs 42-54;

  58-67; 78-96; 100-115; 117-124; 126; 128-131; 159-180; 182; 184; 186; 189; 191-

  192; 194-196; 198-202; 204-205; 207-210; 215-217; 219; 221; 226; 228; 230; 232;

  236-237; 241; 243; 256-258; 264-265; 267-269; 271-272; 279; 281; 283-285; 287-

  288; 290; 297; and 299 of his Rebuttal Expert Report; (ii) non-infringement based

  on the term “independently perform operations in response to instructions over a
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  BUS,” incorporated in paragraphs 134-141; 212-214; 223-224; 249-252; 256-258;

  274-277; and 292-295 of his Rebuttal Expert Report; and (iii) the 2016

  Experiments and modifying the 2040 system, including comparing it to the

  Accused System, incorporated in in his Opening Expert Report at paragraphs 299,

  368, 444, 632, 652, 658, 663, 666, 669, 702, 731, 889, and Exhibits 4-8, and

  incorporated in his Reply Expert Report at paragraphs 36-52, and 57. The grounds

  for this Motion are set forth in Plaintiffs’ Opening Brief in Support of Motion to

  Exclude Expert Opinions and the supporting Declaration of Amy DeWitt and

  exhibits, filed concurrently.

        NOW, THEREFORE, Plaintiffs respectfully request that the Court grant this

  Motion in the form of the Proposed Order attached as Exhibit A.

                                                /s/ John W. Shaw
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   Dated: December 15, 2020




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